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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

ANGELO XIDIAS and ROULA XIDIAS,                     )
    Plaintiffs,                                     )
                                                    ) Case No.                          .
vs.                                                 )
                                                    )
UNITED STATES OF AMERICA, UNITED                    )
STATES POSTAL SERVICE and                           ) PLAINTIFF DEMANDS
LINDA R. EVANS,                                     ) TRIAL BY JURY
                                                    )
       Defendants.                                  )



                                        COMPLAINT

       NOW COMES the Plaintiffs, Angelo Xidias and Roula Xidias, by and through their

attorneys, Koransky Bouwer & Poracky, P.C., and complaining of the Defendants, the United

States of America (hereinafter “USA”), the United States Postal Service (“USPS”), and Linda R.

Evans (“Evans”), state as follows:

                                     DEFENDANT PARTIES

       1.     Defendant, USA, at all times relevant hereto, had within its domain, custody and

control over a federal agency, the United States Postal Services (hereinafter the “USPS”) and all

of their agents, servant, workers, employees and/or other representatives, when acting within the

scope of their employment.

       2.     The USPS is an independent agency of the executive branch of the United States

federal government which is operated by a Board of Governors, the Postmaster General, and the

Deputy Postmaster General. The USPS is explicitly authorized to conduct business by the United

States Constitution. However, the USPS does not operate using taxpayer money, but rather

operates from revenues from mail and package delivery and other miscellaneous services.

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        3.     Defendant, Evans, is an adult individual who at all times relevant herein, was acting

within the course and scope of her employment and in furtherance of the business activities of the

USPS.

        4.     USA, USPS, and Evans are collectively referred to as the Defendants hereinafter.

Other references are made as to the USA and USPS together having responsibility for all of the

operational and management aspects of the USPS and their combined agents, servants, workers,

employees and/or other representatives, specifically, Evans.

                                 JURISDICTION AND VENUE

        5.     This Court has jurisdiction pursuant to 28 U.S.C. §1346(b).

        6.     Venue is proper in this district pursuant to 28 U.S.C. 1391(e).

        7.     This matter arises from an auto accident with USPS driver, Evans on January 20,

2020. The Plaintiffs submitted the requisite Form 95 signed and verified to the USPS setting forth

their damages (see “Exhibit A” hereto, January 20, 2020 initial claim), and the USPS responded

on January 29, 2020, indicating it could not accept the claim (see “Exhibit B” hereto, January 29,

2020 USPS Response). The Plaintiffs subsequently submitted two Amended Claims to USPS on

July 9, 2020 and July 10, 2020, but to date USPS has not allowed the Amended Claim (see “Exhibit

C” and “Exhibit D” hereto, Amended Claims of July 9, 2020 and July 10, 2020, respectively). The

Plaintiffs have satisfied all procedural prerequisites to suit by timely submitting their claim to the

USPS, which has denied their claim to date.

                          COUNT 1 - NEGLIGENCE
         ANGELO XIDIAS and ROULA XIDIAS VS. USA and LINDA R. EVANS

        8.     Defendants, USA and USPS, have their principal postal facility for the area of

where the accident occurred with a location at 303 Washington Street, Michigan City, IN 46360.




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       9.      On or about November 11, 2019, Angelo Xidias was driving a vehicle in which

Roula Xidias was a passenger. The Plaintiffs vehicle was traveling on or about U.S. 35 in LaPorte

County, Indiana, when a vehicle of the Defendants, USA and USPS, driven by and through their

agent, servant, worker, employee and/or other representative, specifically, Evans, caused an

accident with the Xidias vehicle, by crossing the center line, traveling at a speed far above then

existing conditions, then proceeded to drive into the Xidias vehicle’s lane viciously striking the

Xidias vehicle and its occupants.

       10.     The Defendants, USA and USPS in the operation of their postal vehicle by and

through their agent, servant, worker, employee and/or other representative, specifically, Defendant

Evans, jointly and severally, were negligent, careless, and reckless, generally and in the following

particular manners:

               a.       Operating or allowing said postal vehicle to be operated at an excessive rate

of speed;

               b.       Failing to have said postal vehicle under proper and adequate control at the

time of the accident;

               c.       Operating said postal vehicle in a negligent, careless, and reckless manner

without due regard for the rights, safety, and position for other persons lawfully upon the highway,

such as the Plaintiffs herein;

               d.       Failure to give proper and sufficient warning of said postal vehicle’s

approach;

               e.       Failure to use a braking and/or steering apparatus properly as to the postal

vehicle;




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                  f.    Failure to remain attentive, to keep a proper lookout, and make proper

observations in the operation of the postal vehicle;

                  g.    Failing to maintain said postal vehicle free from any and all mechanical

defects or problems resulting from a lack of preventative and general required maintenance;

                  h.    Violating the local ordinances and statutes relating to the operation,

maintenance, and control of the postal vehicle while operating in the state of Indiana;

                  i.    Driving the postal vehicle unsafely;

                  j.    Failing to adhere to posted signs and regulations;

                  k.    Improperly becoming distracted from being able to properly operate said

postal vehicle;

                  l.    Negligent entrustment of the postal vehicle by Defendants USA and USPS

to Defendant, Evans;

                  m.    Negligent supervision by Defendants USA and USPS as to Defendant,

Evans

                  n.    Failing to maintain an assured clear distance from other vehicles on the

roadway;

                  o.    Failing to keep a proper lookout; and

                  p.    Such other acts and/or omissions to act which constitute negligence,

carelessness and/or recklessness, as may be learned though discovery proceedings as may be

demonstrated by the evidence introduced at the time of trial which is in the exclusive possession

and control of the Defendants herein.

        11.       By reason of the aforesaid negligence, carelessness, and recklessness of the

Defendants USA and USPS, by and through their agent, servant, worker, employee and/or other



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representative, specifically Defendant Evans, as hereinbefore alleged, the Plaintiffs, Angelo Xidias

and Roula Xidias, were injured in their vehicle, resulting in injury to their vehicle and bodily and

psychological injuries to both Plaintiffs, all or some of which bodily and psychological injuries

may be permanent in nature.

       12.     By reason of the negligence, carelessness, and recklessness aforesaid of the

Defendants, USA and USPS, by and through their agent, servant, worker, employee and/or other

representative, specifically, Defendant, Evans as hereinbefore alleged, the Plaintiffs Angelo Xidias

and Roula Xidias continue to suffer physical and mental impairments necessitating continuing

medical treatment, the full extent of which is not yet known. The Plaintiffs Angelo Xidias and

Roula Xidias have in the past and may in the future undergo severe pain and suffering, as the result

of which in the past and may in the future be unable to attend to their usual duties, occupations,

vocations, and enjoyments of life, all to their great loss and detriment.

       13.      By reason of the aforesaid negligence, carelessness, and recklessness of the

Defendants USA and USPS by and through their agent, servant, worker, employee, and/or other

representative, specifically, Evans, as hereinbefore alleged, the Plaintiffs Angelo Xidias and Roula

Xidias have in the past and may in the future be obligated to receive and undergo medical and

psychological attention and care and expend various sums of money, such sums of which may be

due and owing to such health care providers.

       14.     By reason of the aforesaid negligence, carelessness, and recklessness of the

Defendants USA and USPS, by and through their agent, servant, worker, employee, and/or other

representative, specifically, Evans, as hereinbefore alleged, the Plaintiffs Angelo Xidias and Roula

Xidias have in the past and may in the future suffer a severe loss of earnings and/or impairment of

earning capacity or earning power, and Plaintiffs Angelo Xidias and Roula Xidias may continue



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to suffer such a loss of earnings and/or impairment in earning capacity for an indefinite time in the

future.

          15.   By reason of the aforesaid negligence, carelessness, and recklessness of the

Defendant USA by and through their agent, servant, worker, employee, and/or other

representative, specifically, Evans, as hereinbefore alleged, the Plaintiffs Angelo Xidias and Roula

Xidias has in the past or may hereinafter incur other financial and/or pecuniary expenses and losses

which exceed or may exceed in the future amounts which they are otherwise entitled to recover.

          16.   In addition to sustaining “non-economic losses,” the Plaintiffs Angelo Xidias and

Roula Xidias sustained other pecuniary losses as well as other losses, the full extent of which is

not yet known, some or all of which may still be owing.

          WHEREFORE, Plaintiffs Angelo Xidias and Roula Xidias demand judgment in their favor

and against the Defendants herein, USA, USPS and Linda R. Evans, jointly and/or severally, for

damages, both economic and non-economic, in an amount in excess of two hundred fifty thousand

dollars ($250,000.00), an award of punitive damages for the reckless and indifferent misconduct

by the Defendants, together with interest, costs of suit, attorney’s fees, and all such other and

further relief that the Court deems just and appropriate under the circumstances.

               COUNT II – LOST CONSORTIUM OF BOTH PLAINTIFFS
           ANGELO XIDIAS and ROULA XIDIAS VS. USA and LINDA R. EVANS

          17.   Plaintiffs incorporate paragraphs 1 through 16, inclusive, as though the same were

hereinafter set forth at length.

          18.   At all times relevant herein, Plaintiffs, Angelo Xidias and Roula Xidias, were the

husband and wife of each other, and were and are entitled to the services, companionship, support,

assistance, society, comfort, happiness, and other marital expectations of one another.




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        19.     As a direct and proximate result of the aforesaid injuries and losses suffered by the

Plaintiffs, Angelo Xidias and Roula Xidias, they each have been deprived of the services,

companionship, support, assistance, society, comfort, happiness, and other marital expectations

suffered by the Plaintiffs, and such deprivations and impairments may and/or will continue unto

the future all to the great harm and detriment and loss of Plaintiffs Angelo Xidias and Roula Xidias.

        WHEREFORE, Plaintiffs Angelo Xidias and Roula Xidias demand judgment in their favor

and against the Defendants herein, USA, USPS, and Linda R. Evans, jointly and/or severally, for

damages, both economic and non-economic, in in excess of two hundred fifty thousand dollars

($250,000.00), an award of punitive damages for the reckless and indifferent misconduct by the

Defendants, together with interest, costs of suit, attorney’s fees, and all such other and further relief

that the Court deems just and appropriate under the circumstances.

                                          JURY DEMAND

        Plaintiffs demand a trial by jury.


                                                Respectfully submitted,

                                                KORANSKY, BOUWER & PORACKY, P.C.

                                                By: /s/ Paul B. Poracky
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                                                Email: PPoracky@KBLegal.net




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$8,483.92          $106,373.13                              $114,857.05
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